

People v Tompson (2025 NY Slip Op 01049)





People v Tompson


2025 NY Slip Op 01049


Decided on February 20, 2025


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: February 20, 2025

Before: Webber, J.P., Singh, Moulton, Pitt-Burke, Rosado, JJ. 


Ind No. 73677/22|Appeal No. 3749|Case No. 2023-04516|

[*1]The People of the State of New York, Respondent,
vAntoy Tompson, Defendant-Appellant.


Jenay Nurse Guilford, Center for Appellate Litigation, New York (Corina R. Scott of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (T. Charles Won of counsel), for respondent.



Judgment, Supreme Court, Bronx County (Albert Lorenzo, J., at plea; Ralph A. Fabrizio, J., at sentencing), rendered August 23, 2024, convicting defendant of criminal possession of a weapon in the fourth degree, and sentencing him to a conditional discharge, unanimously affirmed.
Defendant's valid waiver of his right to appeal (see People v Thomas, 34 NY3d 545, 559—560 [2019], cert denied 589 US __, 140 S Ct 2634 [2020]) forecloses review of his Second Amendment claim (see People v Johnson, 225 AD3d 453 [1st Dept. 2024], lv granted 42 NY3d 939 [2024]). As an alternative holding, we find that because defendant failed to attempt to obtain a gun license, he has not demonstrated that he has standing to challenge New York's gun licensing scheme (see id. at 455). Defendant's contention that an application for a gun license would have been futile because he did not meet the minimum age requirement is unpreserved (see People v Cabrera, 41 NY3d 35, 42 [2023]; People v Bailey, __ AD3d __, 2025 NY Slip Op 00279 [1st Dept 2025]; People v Maldonado, 230 AD3d 1069, 1070 [1st Dept 2024], lv denied 42 NY3d 1053 [2024]), and we decline to review it in the interest of justice. As an alternative holding, we find that defendant has failed to establish that his conviction is unconstitutional under New York State Rifle &amp; Pistol Assn., Inc. v. Bruen (597 US 1 [2022]).
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: February 20, 2025








